                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF IOWA
                                    EASTERN DIVISION

MARTIN P. KUENNEN and CAROL
KUENNEN,
               Plaintiffs,                          No. 6:14-cv-02045-LRR


vs.
                                                    STIPULATION FOR DISMISSAL OF
WRIGHT MEDICAL TECHNOLOGY,                             WRIGHT MEDICAL GROUP
INC., a Delaware Corporation; and                        WITHOUT PREJUDICE
WRIGHT MEDICAL GROUP, INC., a
Delaware corporation,
               Defendants.


       COME NOW Plaintiffs, Martin P. Kuennen and Carol Kuennen, through their counsel of

record, and Defendants, Wright Medical Technology, Inc. and Wright Medical Group, Inc.,

through their counsel of record, and hereby stipulate, pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(ii), that all claims and causes of action against Defendant Wright Medical Group,

Inc. only are dismissed without prejudice. Each party shall bear his or her own respective costs.



/s/ Larry D. Helvey                                         August 5, 2014
Larry D. Helvey                                             Date
Attorney for Plaintiffs


/s/ Gregory M. Lederer______                                August 5, 2014
Gregory M. Lederer                                          Date
Attorney for Defendants




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                                CERTIFICATE OF SERVICE

       I hereby declare that on August 5, 2014, I electronically filed the foregoing with the
Clerk of Court using the ECF system which will send notification of such filing to the following:

Larry D. Helvey
Larry Helvey Law Firm
2735 1st Avenue SE, Ste 101
Cedar Rapids, IA 52402

ATTORNEY FOR PLAINTIFF



                                             /s/ Megan R. Dimitt
                                             Megan R. Dimitt




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